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‘IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF FLORIDA
TALLAHASSEE DIVISION

UNITED STATES OF AMERICA
Case No. 4:23cr18-RH
Vv.

LENTON JEROME HATTEN

STATEMENT OF FACTS

The Defendant agrees to the following facts and admits that, if this case were
to proceed to trial, the Government could prove them beyond a reasonable doubt.

On August 10, 2022, B.H. reported to officials at FCI Tallahassee that she had
been having a sexual relationship with the Defendant since October 2021, with the
most recent incident being the evening before (i.e., August 9, 2022) at approximately
7:00pm. B.H. said that she was coming forward because the situation had become
aggressive and was getting out of hand. A sexual assault nurse examiner conducted
a forensic examination of B.H., including a rape kit.

The FBI’s crime laboratory conducted DNA analysis. Semen was identified
on vaginal swabs taken from B.H. during the rape kit. A mixed DNA profile was
obtained from the vaginal swabs which was found to contain both male and female

DNA. Assuming B.H. to be a contributor, the profile is 33 octillion (3.3 « 108) times

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more likely to be from B.H. and the Defendant than B.H. and an unknown, unrelated
person (very strong support for inclusion).

During the period alleged in the Indictment, B.H. was a federally sentenced
inmate incarcerated at FCI Tallahassee, and the Defendant was employed as a sports
specialist at the FCI. The job duties of a sports specialist include the general duties
of a correctional officer, including security, custody, and supervision of inmates.

ELEMENTS

Count 1: Sexual abuse of a person in official detention, 18 U.S.C. § 2243(b)!
1. First, the defendant knowingly engaged in a sexual act with B.H.;
2. Second, at the time, B.H. was in official detention at the Federal
Correctional Institution in Tallahassee; and
3. Third, at the time, B.H. was under the custodial, supervisory, or
disciplinary authority of the defendant.

18 U.S.C. §2246(2): The term “sexual act” means--
(A) contact between the penis and the vulva or the penis and the anus, and for
purposes of this subparagraph contact involving the penis occurs upon
penetration, however slight; or
(B) contact between the mouth and the penis, the mouth and the vulva, or the
mouth and the anus.

' Taken from the Ninth Circuit Manual of Model Jury Instructions—Criminal § 20.13 (2022). Pattern Jury
Instructions: Fifth Circuit, Criminal Cases § 2.82D (2019) is consistent but creates two elements from the Ninth
Circuit’s element two above, i.e. 2) Second, at the time, [name of victim] was in official detention at the [name of
institution]; and 4) Fourth: That the defendant's actions took place within the special maritime and territorial
jurisdiction of the United States [in a Federal prison] [in any prison, institution, or facility in which persons are held
in custody by direction of or pursuant to a contract or agreement with the head of any Federal department or

agency].
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18 U.S.C. §2246(5): The term “official detention” means--

(A) detention by a Federal officer or employee, or under the direction of a
Federal officer or employee ... following a charge or conviction of an offense
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(B) custody by a Federal officer or employee, or under the direction of a
Federal officer or employee, for purposes incident to any detention described
in subparagraph (A) of this paragraph, including transportation, medical
diagnosis or treatment, court appearance, work, and recreation.

JASON R. COODY
United States Attorney

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Cufanl) bef 5/25/3022,
LENTON JEROME HATTEN Date

Defendant

S, 25) Jmaz

Date

